         Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 1 of 32




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                        v.
                                                       Case No. 21-cr-34 (CRC)
 THOMAS ROBERTSON,

                  Defendant.

                                FINAL JURY INSTRUCTIONS

       Ladies and gentlemen, you have now heard all of the evidence in the case. Before you

begin your deliberations, I am going to instruct you on the law. I will start with some general

rules of law and then talk about the specific charges alleged here and some of the specific issues

in this case. Some of these rules will repeat what I told you in my preliminary instructions.

                 Instruction No. 1: Furnishing Jury with Copy of Instructions

       I will provide each of you with a copy of my instructions. During your deliberations, you

may, if you want, refer to these instructions. While you may refer to any particular portion of the

instructions, you are to consider the instructions as a whole and you may not follow some and

ignore others. If you have any questions about the instructions, you should feel free to send me a

note. Please leave your instructions in the jury room when you conclude your deliberations.

                             Instruction No. 2: Function of the Court

       As I said, my function is to conduct this trial in an orderly, fair, and efficient manner; to

rule on questions of law; and to instruct you on the law that applies in this case. It is your duty to

accept the law as I instruct you. You should consider all the instructions as a whole. You may

not ignore or refuse to follow any of them.
         Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 2 of 32




                             Instruction No. 3: Function of the Jury

       Your function, as the jury, is to determine what the facts are in this case. You are the sole

judges of the facts. While it is my responsibility to decide what is admitted as evidence during

the trial, you alone decide what weight, if any, to give to that evidence. You alone decide the

credibility or believability of the witnesses.

       You should determine the facts without prejudice, fear, sympathy, or favoritism. You

should not be improperly influenced by anyone’s race, ethnic origin, or gender. Decide the case

solely from a fair consideration of the evidence.

       You may not take anything I may have said or done during the trial as indicating how I

think you should decide this case. If you believe that I have expressed or indicated any such

opinion, you should ignore it. The verdict in this case is your responsibility alone.

                         Instruction No. 4: Jury’s Recollection Controls

       If any reference by me or the attorneys to the evidence is different from your own

memory of the evidence, it is your memory that should control during your deliberations.

                             Instruction No. 5: Notetaking by Jurors

       During the trial, I have permitted those jurors who wanted to do so to take notes. You

may take your notebooks with you to the jury room and use them during your deliberations if

you wish. As I told you at the beginning of the trial, your notes are only to be an aid to your

memory. They are not evidence in the case, and they should not replace your own memory of

the evidence. Those jurors who have not taken notes should rely on their own memory of the

evidence. The notes are intended to be for the notetaker’s own personal use.




                                                    2
           Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 3 of 32




                             Instruction No. 6: Evidence in the Case

       During your deliberations, you may consider only the evidence properly admitted in this

trial. The evidence in this case consists of the sworn testimony of the witnesses, the exhibits that

were admitted into evidence, and the facts and testimony stipulated to by the parties.

       During the trial, you were told that the parties had stipulated—that is, agreed—to certain

facts. You should consider any stipulation of fact to be undisputed evidence.

       When you consider the evidence, you are permitted to draw, from the facts that you find

have been proven, any reasonable inferences that you feel are justified in light of your

experience. You should give any evidence the weight that you think it is fairly entitled to

receive.

                            Instruction No. 7: Statements of Counsel

       The statements and arguments of the lawyers are not evidence. They are only intended to

assist you in understanding the evidence. Likewise, the questions of the lawyers are not

evidence.

                          Instruction No. 8: Indictment Not Evidence

       As I’ve explained, the Defendant was charged in this case via an indictment. An

indictment is merely the formal way of accusing a person of a crime. You must not consider the

indictment as evidence of any kind—you may not consider it as any evidence of Mr. Robertson’s

guilt or draw any inference of guilt from it.




                                                 3
         Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 4 of 32




                                Instruction No. 9: Burden of Proof

        Every defendant in a criminal case is presumed to be innocent. This presumption of

innocence remains with the defendant throughout the trial unless and until the government has

proven he is guilty beyond a reasonable doubt. This burden never shifts throughout the trial.

The law does not require Mr. Robertson to prove his innocence or to produce any evidence at all.

If you find that the government has proven beyond a reasonable doubt every element of an

offense with which he is charged, it is your duty to find him guilty of that offense. On the other

hand, if you find the government has failed to prove any element of an offense beyond a

reasonable doubt, you must find Mr. Robertson not guilty of that offense.

                              Instruction No. 10: Reasonable Doubt

        The government has the burden of proving Mr. Robertson guilty beyond a reasonable

doubt. Some of you may have served as jurors in civil cases, where it is only necessary to prove

that a fact is more likely true than not, or, in some cases, that its truth is highly probable. In

criminal cases such as this one, the government’s proof must be more powerful than that. It must

be beyond a reasonable doubt. Reasonable doubt, as the name implies, is a doubt based on

reason—a doubt for which you have a reason based on the evidence or lack of evidence in the

case. If, after careful, honest, and impartial consideration of all the evidence, you cannot say that

you are firmly convinced of the defendant’s guilt, then you have a reasonable doubt.

        Reasonable doubt is the kind of doubt that would cause a reasonable person, after careful

and thoughtful reflection, to hesitate to act in the graver or more important matters in life.

However, it is not an imaginary doubt, nor a doubt based on speculation or guesswork; it is a

doubt based on reason. The government is not required to prove guilt beyond all doubt, or to a

mathematical or scientific certainty. Its burden is to prove guilt beyond a reasonable doubt.



                                                   4
         Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 5 of 32




                   Instruction No. 11: Direct and Circumstantial Evidence

       There are two types of evidence from which you may determine what the facts are in this

case—direct evidence and circumstantial evidence. When a witness, such as an eyewitness,

asserts actual knowledge of a fact, that witness’s testimony is direct evidence. On the other

hand, evidence of facts and circumstances from which reasonable inferences may be drawn is

circumstantial evidence.

       Let me give you an example. Assume a person looked out a window and saw that snow

was falling. If he later testified in court about what he had seen, his testimony would be direct

evidence that snow was falling at the time he saw it happen. But now assume that he looked out

a window and saw no snow on the ground, and then went to sleep and saw snow on the ground

the following morning. His testimony about what he had seen would be circumstantial evidence

that it had snowed while he was asleep.

       The law says that both direct and circumstantial evidence are acceptable means of

proving a fact. The law does not favor one form of evidence over another. It is for you to decide

how much weight to give to any particular evidence, whether direct or circumstantial. You are

permitted to give equal weight to both. Circumstantial evidence does not require a greater

degree of certainty than direct evidence. In reaching a verdict in this case, you should consider

all of the evidence presented, both direct and circumstantial.




                                                 5
             Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 6 of 32




                   Instruction No. 12: Nature of Charges Not to Be Considered

        One of the questions you were asked when we were selecting this jury was whether the

nature of the charges themselves would affect your ability to reach a fair and impartial verdict. I

asked you that question because you must not allow the nature of a charge to affect your verdict.

You must consider only the evidence that has been presented in this case in reaching a fair and

impartial verdict.

                            Instruction No. 13: Number of Witnesses

        The weight of the evidence is not necessarily determined by the number of witnesses

testifying for each side. Rather, you should consider all the facts and circumstances in evidence

to determine which of the witnesses you believe. You may find that the testimony of a smaller

number of witnesses on one side is more believable than the testimony of a greater number of

witnesses on the other side, or you might find the opposite.

                          Instruction No. 14: Credibility of Witnesses

        In determining whether the government has proved the charges against the defendant

beyond a reasonable doubt, you must consider the testimony of all the witnesses who have

testified.

        You are the sole judges of the credibility of the witnesses. You alone determine whether

to believe any witness and the extent to which a witness should be believed. Judging a witness’s

credibility means evaluating whether the witness has testified truthfully and also whether the

witness accurately observed, recalled, and described the matters about which he or she testified.

        You may consider anything that in your judgment affects the credibility of any witness.

For example, you may consider the demeanor and the behavior of the witness on the witness

stand; the witness’s manner of testifying; whether the witness impresses you as a truthful person;



                                                 6
          Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 7 of 32




whether the witness impresses you as having an accurate memory and recollection; whether the

witness has any motive for not telling the truth; whether the witness had a full opportunity to

observe the matters about which he or she has testified; whether the witness has any interest in

the outcome of this case, or friendship or hostility toward other people involved in the case.

         In evaluating the accuracy of a witness’s memory, you may consider the circumstances

surrounding the event, including any circumstances that would impair or improve the witness’s

ability to remember the event, the time that elapsed between the event and any later recollections

of the event, and the circumstances under which the witness was asked to recall details of the

event.

         Inconsistencies or disparities in the testimony of a witness, or between the testimony of

different witnesses, may or may not cause you to discredit such testimony. Two or more persons

witnessing an incident or transaction may see it or hear it differently; an innocent

misrecollection, like a failure of recollection, is not an uncommon experience. In weighing the

effects of the inconsistency or discrepancy, always consider whether it pertains to a matter of

important or unimportant detail, and whether the inconsistency or discrepancy results from

innocent error or intentional falsehood.

         You may consider the reasonableness or unreasonableness, the probability or

improbability, of the testimony of a witness in determining whether to accept it as true and

accurate. You may consider whether the witness has been contradicted or supported by other

evidence that you credit.

         If you believe that any witness has shown himself to be biased or prejudiced, for or

against either side, you may consider and determine whether such bias or prejudice has colored




                                                  7
          Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 8 of 32




the testimony of the witness so as to affect the desire and capability of that witness to tell the

truth.

         You should give the testimony of each witness such weight as in your judgment it is

fairly entitled to receive.

                       Instruction No. 15: Right of Defendant Not to Testify

         Every defendant in a criminal case has an absolute right not to testify. Mr. Robertson has

chosen to exercise this right. You must not hold this decision against him, and it would be

improper for you to speculate as to the reason or reasons for his decision. You may not draw any

inference of guilt from the defendant’s decision not to testify.

                    Instruction No. 16: Law Enforcement Officer Testimony

         You have heard testimony from officers of the United States Capitol Police, the

Metropolitan Police Department, the Federal Bureau of Investigation, and the United States

Secret Service. A law enforcement officer’s testimony should be evaluated by you just as any

other evidence in the case. In evaluating the officer’s credibility, you should use the same

guidelines that you apply to the testimony of any witness. In no event should you give either

greater or lesser weight to the testimony of any witness merely because he or she is a law

enforcement officer.




                                                  8
         Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 9 of 32




                      Instruction No. 17: Witness with a Plea Agreement

        You have heard evidence that Jacob Fracker entered into a plea agreement with the

government pursuant to which he agreed to testify truthfully in this case, and the government

agreed to dismiss certain charges against him, decline prosecution of charges against him, and

bring Jacob Fracker’s cooperation to the attention of the sentencing judge.

        The government is permitted to enter into this kind of plea agreement. You, in turn, may

accept the testimony of such a witness and convict the defendant on the basis of this testimony

alone, if it convinces you of the defendant’s guilt beyond a reasonable doubt. A witness who has

entered into a plea agreement is under the same obligation to tell the truth as is any other witness;

the plea agreement does not protect him against a prosecution for perjury or false statement,

should he lie under oath.

        However, you may consider whether a witness who has entered into such an agreement

has an interest different from other types of witnesses. You may consider whether the plea

agreement the witness entered into with the government has motivated him to testify falsely

against the defendant. The testimony of a witness who has entered into a plea agreement should

be considered with caution. You should give the testimony as much weight as in your judgment

it deserves.




                                                 9
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 10 of 32




                    Instruction No. 18: Inadmissible and Stricken Evidence

       The lawyers in this case sometimes objected when the other side asked a question, made

an argument, or offered evidence that the objecting lawyer believed was not proper. You must

not hold such objections against the lawyer who made them or the party he or she represents. It

is the lawyers’ responsibility to object to evidence that they believe is not admissible.

       If, during the course of the trial, I sustained an objection to a lawyer’s question, you

should ignore the question, and you must not speculate as to what the answer would have been.

If, after a witness answered a question, I ruled that the answer should be stricken, you should

ignore both the question and the answer and they should play no part in your deliberations.




                                                 10
         Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 11 of 32




                          ELEMENTS OF THE CHARGED OFFENSES

         I will now instruct you on the specific offenses charged in the indictment. The

indictment in this case contains six counts:

   1. Obstruction of an Official Proceeding and Aiding and Abetting, with respect to

         Congress’s certification of the Electoral College vote;

   2. Civil Disorder and Aiding and Abetting;

   3. Entering or Remaining in a Restricted Building or Grounds;

   4. Disorderly or Disruptive Conduct in a Restricted Building or Grounds;

   5. Disorderly Conduct in a Capitol Building; and

   6. Obstruction of an Official Proceeding, with respect to the grand jury investigation or

         prosecution of this case.

            Instruction No. 19: Count One - Obstruction of an Official Proceeding

                                     and Aiding and Abetting

         Count 1 of the indictment charges the defendant with corruptly obstructing an official

proceeding, which is a violation of federal law. Count 1 also charges the defendant with attempt

to obstruct or impede an official proceeding and aiding and abetting others to commit that

offense. I will first explain the elements of the substantive offense, along with its associated

definitions. Then, I will explain how to determine whether the defendant attempted the offense

and whether the defendant aided and abetted the offense.

                                               Elements

         In order to find the defendant guilty of corruptly obstructing an official proceeding, you

must find that the government proved each of the following four elements beyond a reasonable

doubt:



                                                  11
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 12 of 32




        First, the defendant attempted to or did obstruct or impede an official proceeding.

        Second, the defendant acted with the intent to obstruct or impede the official proceeding.

        Third, the defendant acted knowingly, with awareness that the natural and probable effect

of his conduct would be to obstruct or impede the official proceeding.

        Fourth, the defendant acted corruptly.

                                            Definitions

        The term “official proceeding” includes a proceeding before the Congress. The official

proceeding need not be pending or about to be instituted at the time of the offense. If the official

proceeding was not pending or about to be instituted, the government must prove beyond a

reasonable doubt that the official proceeding was reasonably foreseeable to the defendant. As

used in Count 1, the term “official proceeding” means Congress’s Joint Session to certify the

Electoral College vote.

        A person acts “knowingly” if he realizes what he is doing and is aware of the nature of

his conduct, and does not act through ignorance, mistake, or accident. In deciding whether the

defendant acted knowingly, you may consider all of the evidence, including what the defendant

did or said.

        To act “corruptly,” the defendant must use unlawful means or act with an unlawful

purpose, or both. The defendant must also act with “consciousness of wrongdoing.”

“Consciousness of wrongdoing” means with an understanding or awareness that what the person

is doing is wrong.

        Not all attempts to obstruct or impede an official proceeding involve acting corruptly.

For example, a witness in a court proceeding may refuse to testify by invoking his constitutional

privilege against self-incrimination, thereby obstructing or impeding the proceeding, but he does



                                                 12
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 13 of 32




not act corruptly. In contrast, an individual who obstructs or impedes a court proceeding by

bribing a witness to refuse to testify in that proceeding, or by engaging in other independently

unlawful conduct, does act corruptly.

                                             Attempt

       In Count 1, the defendant is also charged with attempt to commit the crime of obstruction

of an official proceeding. An attempt to commit obstruction of an official proceeding is a crime

even if the defendant did not actually complete the crime of obstruction of an official proceeding.

       In order to find the defendant guilty of attempt to commit obstruction of an official

proceeding, you must find that the government proved beyond a reasonable doubt each of the

following two elements:

       First, that the defendant intended to commit the crime of obstruction of an official

proceeding, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing obstruction of an

official proceeding which strongly corroborates or confirms that the defendant intended to

commit that crime.

       With respect to the first element of attempt, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because he thought about it. You

must find that the evidence proved beyond a reasonable doubt that the defendant’s mental state

passed beyond the stage of thinking about the crime to actually intending to commit it.

       With respect to the substantial step element, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because he made some plans to

or some preparation for committing that crime. Instead, you must find that the defendant took

some firm, clear, undeniable action to accomplish his intent to commit obstruction of an official



                                                13
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 14 of 32




proceeding. However, the substantial step element does not require the government to prove that

the defendant did everything except the last act necessary to complete the crime.

                                         Aiding and Abetting

       In this case, the government further alleges that the defendant aided and abetted others in

committing obstruction of an official proceeding as charged in Count 1. A person may be guilty

of an offense if he aided and abetted another person in committing the offense. A person who

has aided and abetted another person in committing an offense is often called an accomplice.

The person whom the accomplice aids and abets is known as the principal. It is not necessary

that all the people who committed the crime be caught or identified. It is sufficient if you find

beyond a reasonable doubt that the crime was committed by someone and that the defendant

knowingly and intentionally aided and abetted that person in committing the crime.

       In order to find the defendant guilty of obstruction of an official proceeding because he

aided and abetted others in committing this offense, you must find that the government proved

beyond a reasonable doubt the following five requirements:

       First, that others committed obstruction of an official proceeding by committing each of

the elements of the offense charged, as I have explained above.

       Second, that the defendant knew that obstruction of an official proceeding was going to

be committed or was being committed by others.

       Third, that the defendant performed an act or acts in furtherance of the offense.

       Fourth, that the defendant knowingly performed that act or those acts for the purpose of

aiding, assisting, soliciting, facilitating, or encouraging others in committing the offense of

obstruction of an official proceeding.




                                                 14
         Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 15 of 32




        Fifth, that the defendant did that act or those acts with the intent that others commit the

offense of obstruction of an official proceeding.

        To show that the defendant performed an act or acts in furtherance of the offense

charged, the government needs to show some affirmative participation by the defendant which at

least encouraged others to commit the offense. That is, you must find that the defendant’s act or

acts did, in some way, aid, assist, facilitate, or encourage others to commit the offense. The

defendant’s act or acts need not further aid, assist, facilitate, or encourage every part or phase of

the offense charged; it is enough if the defendant’s act or acts further aid, assist, facilitate, or

encourage only one or some parts or phases of the offense. Also, the defendant’s acts need not

themselves be against the law.

        In deciding whether the defendant had the required knowledge and intent to satisfy the

fourth requirement for aiding and abetting, you may consider both direct and circumstantial

evidence, including the defendant’s words and actions and other facts and circumstances.

However, evidence that the defendant merely associated with persons involved in a criminal

venture or was merely present or was merely a knowing spectator during the commission of the

offense is not enough for you to find the defendant guilty as an aider and abettor. If the evidence

shows that the defendant knew that the offense was being committed or was about to be

committed, but does not also prove beyond a reasonable doubt that it was the defendant’s intent

and purpose to aid, assist, encourage, facilitate, or otherwise associate himself with the offense,

you may not find the defendant guilty of obstruction of an official proceeding as an aider and

abettor. The government must prove beyond a reasonable doubt that the defendant in some way

participated in the offense committed by others as something the defendant wished to bring about

and to make succeed.



                                                   15
            Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 16 of 32




             Instruction No. 20: Count Two – Civil Disorder and Aiding and Abetting

        Count 2 of the indictment charges the defendant with committing or attempting to

commit an act to obstruct, impede, or interfere with law enforcement officers lawfully carrying

out their official duties incident to a civil disorder, which is a violation of federal law.

                                               Elements

        In order to find the defendant guilty of this offense, you must find the following three

elements beyond a reasonable doubt:

        First, the defendant knowingly committed an act or attempted to commit an act with the

intended purpose of obstructing, impeding, or interfering with one or more law enforcement

officers.

        Second, at the time of the defendant’s actual or attempted act, the law enforcement

officer or officers were engaged in the lawful performance of their official duties incident to and

during a civil disorder.

        Third, the civil disorder in any way or degree obstructed, delayed, or adversely affected

either commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federally protected function.

        Attempt has the same meaning as that described for Count 1.

        Aiding and Abetting has the same meaning as that described for Count 1.

                                              Definitions

        A “civil disorder” is defined as any public disturbance involving acts of violence by

assemblages of three or more persons, which causes an immediate danger of or results in damage

or injury to the property or person of any other individual.




                                                  16
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 17 of 32




                                            Stipulations

       The parties have stipulated to the following with respect to “interstate commerce,”

“official duties,” and “federally protected function”:

       With respect to interstate commerce, the parties have stipulated that: The events on the

Grounds of the U.S. Capitol and in the U.S. Capitol building on January 6, 2021, obstructed,

delayed, or adversely affected commerce or the movement of any article or commodity in

commerce. The term “commerce” means commerce (A) between any State or the District of

Columbia and any place outside thereof; (B) between points within any State or the District of

Columbia, but through any place outside thereof; or (C) wholly within the District of Columbia.

       Under the Constitution, Congress has the exclusive power to enact laws for the District of

Columbia.

       With respect to official duties, the parties have stipulated that: On January 6, 2021,

officers from the United States Capitol Police on the U.S. Capitol Grounds and in the U.S.

Capitol building were engaged in their official duties as officers or employees of the United

States or of any agency in any branch of the United States Government.

       On January 6, 2021, officers from the Washington, D.C., Metropolitan Police Department

on the U.S. Capitol Grounds and in the U.S. Capitol building were assisting officers from the

United States Capitol Police who were engaged in their official duties as officers or employees

of the United States or of any agency in any branch of the United States Government.

       With respect to a “federally protected function,” the parties have stipulated that: The

events on the Grounds of the U.S. Capitol and in the U.S. Capitol building on January 6, 2021,

adversely affected a “federally protected function.” That means that the events adversely

affected any function, operation, or action carried out, under the laws of the United States, by



                                                 17
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 18 of 32




any department, agency, or instrumentality of the United States or by an officer or employee

thereof. The federally protected functions that were adversely affected included the following:

the United States Capitol Police’s protection of the U.S. Capitol and the Capitol grounds, and the

United States Secret Service’s protection of the Vice President of the United States and

immediate family members of the Vice President.




                                               18
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 19 of 32




                Instruction No. 21: Count Three – Entering or Remaining in a

                                Restricted Building or Grounds

       Count 3 of the indictment charges the defendant with entering or remaining in a restricted

building or grounds while carrying a dangerous or deadly weapon, which is a violation of federal

law. I am going to instruct you on this charge and also on the lesser included offense of entering

or remaining in a restricted building or grounds. After I give you the elements of these crimes, I

will tell you in what order you should consider them.

                                            Elements

       In order to find the defendant guilty of entering or remaining in a restricted building or

grounds while carrying a dangerous or deadly weapon, you must find that the government

proved each of the following elements beyond a reasonable doubt:

       First, that the defendant entered or remained in a restricted building without lawful

authority to do so.

       Second, that the defendant did so knowingly.

       Third, that the defendant carried a deadly or dangerous weapon during and in relation to

the offense.

       In order to find the defendant guilty of entering or remaining in a restricted building or

grounds—the lesser included offense that does not include the deadly or dangerous weapon

element—you must find that the government proved each of the following elements beyond a

reasonable doubt:

       First, that the defendant entered or remained in a restricted building without lawful

authority to do so.

       Second, that the defendant did so knowingly.



                                                19
            Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 20 of 32




        Now I am going to instruct you as to the order in which you should consider these

offenses. You should consider first whether the defendant is guilty of entering or remaining in a

restricted building or grounds while carrying a dangerous or deadly weapon. If you find the

defendant guilty, do not go on to the other charge. If you find the defendant not guilty, go on to

consider whether the defendant is guilty of entering or remaining in a restricted building or

grounds. And if, after making all reasonable efforts to reach a verdict on the charge that includes

carrying a dangerous or deadly weapon, you are not able to do so, you are allowed to consider

the other entering or remaining charge.

        This order will be reflected in the verdict form that I will be giving you.

                                                 Definitions

        The term “restricted building” means any posted, cordoned off, or otherwise restricted

area of a building where a person protected by the Secret Service is or will be temporarily

visiting.

        The term “person protected by the Secret Service” includes the Vice President and the

immediate family of the Vice President.

        The term “knowingly” has the same meaning as that described for Count 1. A person

acts “knowingly” if he realizes what he is doing and is aware of the nature of his conduct, and

does not act through ignorance, mistake, or accident. In deciding whether the defendant

knowingly entered or remained in a restricted building, you may consider all of the evidence,

including what the defendant did or said.

        A person who enters a restricted area with a good faith belief that he is entering with

lawful authority is not guilty of this offense. Thus, you cannot find the defendant guilty of




                                                 20
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 21 of 32




Count 3 unless you are convinced beyond a reasonable doubt that he did not have a good faith

belief of his lawful authority to enter or remain in the restricted building.

       The last element the government must prove beyond a reasonable doubt is that the

defendant carried a deadly or dangerous weapon during and in relation to the offense. Whether

the object specified in the indictment, that is, a large wooden stick, is a deadly or dangerous

weapon depends on the facts of the particular case. It is for you to decide, on the facts of this

case, whether the large wooden stick allegedly carried by the defendant was, in fact, a deadly or

dangerous weapon. An object is a deadly or dangerous weapon if the object is capable of

causing serious bodily injury or death to another person and the defendant intends that it be used

it in that manner.

                                             Stipulations

       The parties have stipulated to certain facts with respect to the definition of the “Capitol

Building and Grounds” and “Restricted Area,” which are in evidence in the case.




                                                  21
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 22 of 32




           Instruction No. 22: Count Four – Disorderly or Disruptive Conduct in a

                                       Restricted Building

       Count 4 of the indictment charges the defendant with disorderly or disruptive conduct in

a restricted building or grounds, while carrying a dangerous or deadly weapon, which is a

violation of federal law. I am going to instruct you on this charge and also on the lesser included

offense of disorderly or disruptive conduct in a restricted building or grounds. After I give you

the elements of these crimes, I will tell you in what order you should consider them.

                                                 Elements

       In order to find the defendant guilty of disorderly or disruptive conduct in a restricted

building or grounds, while carrying a dangerous or deadly weapon, you must find that the

government proved each of the following elements beyond a reasonable doubt:

       First, that the defendant engaged in disorderly or disruptive conduct in, or in proximity

to, any restricted building.

       Second, that the defendant did so knowingly, and with the intent to impede or disrupt the

orderly conduct of Government business or official functions.

       Third, that the defendant’s conduct in fact impeded or disrupted the orderly conduct of

Government business or official functions.

       Fourth, that the defendant carried a deadly or dangerous weapon during and in relation to

the offense.

       In order to find the defendant guilty of disorderly or disruptive conduct in a restricted

building or grounds—the lesser included offense that does not include the deadly or dangerous

weapon element—you must find that the government proved each of the following elements

beyond a reasonable doubt:



                                                22
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 23 of 32




       First, that the defendant engaged in disorderly or disruptive conduct in, or in proximity

to, any restricted building.

       Second, that the defendant did so knowingly, and with the intent to impede or disrupt the

orderly conduct of Government business or official functions.

       Third, that the defendant’s conduct in fact impeded or disrupted the orderly conduct of

Government business or official functions.

       Now I am going to instruct you as to the order in which you should consider these

offenses. You should consider first whether the defendant is guilty of disorderly or disruptive

conduct in a restricted building or grounds, while carrying a dangerous or deadly weapon. If you

find the defendant guilty, do not go on to the other charge. If you find the defendant not guilty,

go on to consider whether the defendant is guilty of disorderly or disruptive conduct in a

restricted building or grounds. And if, after making all reasonable efforts to reach a verdict on

the charge that includes carrying a dangerous or deadly weapon, you are not able to do so, you

are allowed to consider the other disorderly or disruptive conduct charge.

       This order will be reflected in the verdict form that I will be giving you.

                                             Definitions

       “Disorderly conduct” occurs when a person is unreasonably loud and disruptive under the

circumstances, or interferes with another person by jostling against or unnecessarily crowding

that person.

       “Disruptive conduct” is a disturbance that interrupts an event, activity, or the normal

course of a process.

       The term “restricted building” has the same meaning as described in Count 3.




                                                 23
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 24 of 32




       The term “knowingly” has the same meanings as described in the instructions for Count

1.

       The term “deadly or dangerous weapon” has the same meaning as described in the

instructions for Count 3.

                                          Stipulations

       The same stipulation I referred to in Count 3 with respect to the “Capitol Building and

Grounds” and “Restricted Area” applies to Count 4.




                                               24
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 25 of 32




           Instruction No. 23: Count Five – Disorderly Conduct in a Capitol Building

       Count 5 of the indictment charges the defendant with disorderly or disruptive conduct in

a Capitol Building, which is a violation of federal law.

                                               Elements

       In order to find the defendant guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

       First, that the defendant engaged in disorderly or disruptive conduct in any of the United

States Capitol Buildings.

       Second, that the defendant did so with the intent to impede, disrupt, or disturb the orderly

conduct of a session of Congress or either House of Congress.

       Third, that the defendant acted willfully and knowingly.

                                                 Definitions

       The term “United States Capitol Buildings” includes the United States Capitol located at

First Street, Southeast, in Washington, D.C.

       The term “disorderly or disruptive conduct” has the same meaning described in the

instructions for Count 4 defining “disorderly conduct” and “disruptive conduct.”

       A person acts “willfully” if he acts with the intent to do something that the law forbids,

that is, to disobey or disregard the law. “Willfully” does not, however, require proof that the

defendant be aware of the specific law or rule that his conduct may be violating.

       The term “knowingly” has the same meaning as that described in the instructions for

Count 1.




                                                 25
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 26 of 32




            Instruction No. 24: Count Six - Obstruction of an Official Proceeding

       Count 6 of the indictment charges the defendant with obstruction of an official

proceeding, which is a violation of federal law.

                                                   Elements

       In order for you to find the defendant guilty of this charge, the government must prove

each of the four following elements beyond a reasonable doubt:

       First, that the defendant did or attempted to alter, destroy, mutilate, or conceal, a record,

document, or other object.

       Second, that the defendant acted knowingly.

       Third, that the defendant acted corruptly.

       Fourth, that the defendant acted with the intent to impair the object’s integrity or

availability for use in an official proceeding.

                                                  Definitions

       The term “official proceeding” includes a proceeding before a judge or court of the

United States, or a United States magistrate judge, or a Federal grand jury.

       The terms “knowingly,” “corruptly,” and “attempt” have the same meaning as that

described in the instructions for Count 1 defining “knowingly,” “corruptly,” and “attempt.”




                                                   26
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 27 of 32




       OTHER INSTRUCTIONS



                             Instruction No. 25: Proof of State of Mind

       Someone’s intent or knowledge ordinarily cannot be proved directly, because there is no

way of knowing what a person is actually thinking, but you may infer someone’s intent or

knowledge from the surrounding circumstances. You may consider any statement made or acts

done by the defendant, and all other facts and circumstances received in evidence which indicate

his intent or knowledge.

       You may infer, but are not required to infer, that a person intends the natural and

probable consequences of acts he intentionally did or intentionally did not do. It is entirely up to

you, however, to decide what facts to find from the evidence received during this trial. You

should consider all the circumstances in evidence that you think are relevant in determining

whether the government has proved beyond a reasonable doubt that the defendant acted with the

necessary state of mind.

                           Instruction No. 26: Multiple Counts—One Defendant

       Each count of the indictment charges a separate offense. You should consider each

offense, and the evidence which applies to it, separately, and you should return separate verdicts

as to each count. The fact that you may find the defendant guilty or not guilty on any one count

of the indictment should not influence your verdict with respect to any other count of the

indictment.




                                                 27
           Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 28 of 32




                               CONCLUDING INSTRUCTIONS

                           Instruction No. 27: Unanimity—General

       A verdict must represent the considered judgment of each juror, and in order to return a

verdict, each juror must agree on the verdict. In other words, your verdicts must be unanimous.

                        Instruction No. 28: Verdict Form Explanation

       You will be provided with a Verdict Form for use when you have concluded your

deliberations. The form is not evidence in this case, and nothing in it should be taken to suggest

or convey any opinion by me as to what the verdict should be. Nothing in the form replaces the

instructions of law I have already given you, and nothing in it replaces or modifies the

instructions about the elements which the government must prove beyond a reasonable doubt.

The form is meant only to assist you in recording your verdict. Please follow the instructions

closely.

                       Instruction No. 29: Exhibits During Deliberation

       I will be sending into the jury room with you the exhibits that have been admitted into

evidence. You may examine any or all of them as you consider your verdict. Please keep in

mind that exhibits that were only marked for identification but were not admitted into evidence

will not be given to you to examine or consider in reaching your verdict.

                             Instruction No. 30: Redacted Exhibits

       During the course of this trial, a number of exhibits were admitted in evidence.

Sometimes only portions of an exhibit were admitted, such as portions of a longer video, a

document with some words or pictures blacked out or otherwise removed, or a video played

without audio. There are a variety of reasons why only a portion of an exhibit is admitted,

including that the other portions are inadmissible or implicate an individual’s privacy. As you



                                                28
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 29 of 32




examine the exhibits, and you see or hear portions where there appear to be omissions, you

should consider only the portions that were admitted. You should not guess as to what has been

taken out or why, and you should not hold it against either party. You are to decide the facts

only from the evidence that is before you.

                          Instruction No. 31: Selection of Foreperson

       When you return to the jury room, you should first select a foreperson to preside over

your deliberations and to be your spokesperson here in court. There are no specific rules

regarding how you should select a foreperson. That is up to you. However, as you go about the

task, be mindful of your mission—to reach a fair and just verdict based on the evidence.

Consider selecting a foreperson who will be able to facilitate your discussions, who can help you

organize the evidence, who will encourage civility and mutual respect among all of you, who

will invite each juror to speak up regarding his or her views about the evidence, and who will

promote a full and fair consideration of that evidence.

                     Instruction No. 32: Possible Punishment Not Relevant

       The question of possible punishment of the defendant in the event of a conviction is not a

concern of yours and should not enter into or influence your deliberations in any way. The duty

of imposing a sentence in the event of a conviction rests exclusively with me. Your verdict

should be based solely on the evidence in this case, and you should not consider the matter of

punishment at all.

    Instruction No. 33: Cautionary Instruction on Publicity, Communications, Research

       I would like to remind you that, in some cases, there may be reports in the newspaper or

on the radio, internet, or television concerning this case. If there should be such media coverage

in this case, you may be tempted to read, listen to, or watch it. You must not read, listen to, or



                                                 29
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 30 of 32




watch such reports because you must decide this case solely on the evidence presented in this

courtroom. If any publicity about this trial inadvertently comes to your attention, do not discuss

it with other jurors or anyone else. Just let me or my clerk know as soon after it happens as you

can, and I will then briefly discuss it with you.

       As you retire to the jury room to deliberate, I also wish to remind you of an instruction I

gave you at the beginning of the trial. During deliberations, you may not communicate with

anyone not on the jury about this case. This includes any electronic communication such as

email or text or any blogging about the case. In addition, you may not conduct any independent

investigation during deliberations. This means you may not conduct any research in person or

electronically via the internet or in another way.

    Instruction No. 34: Communications Between Court and Jury During Deliberations

       If it becomes necessary during your deliberations to communicate with me, you may send

a note through Ms. Jenkins or one of the marshals, signed by your foreperson or by one or more

members of the jury. No member of the jury should try to communicate with me about the case

except by such a signed note, and I will never communicate with any member of the jury on any

matter concerning the merits of this case, except in writing or orally here in open court.

       Bear in mind also that you are never, under any circumstances, to reveal to any person—

not Ms. Jenkins, the marshal, or me—how jurors are voting until after you have reached a

unanimous verdict. This means that you should never tell me, in writing or in open court, how

the jury is divided on any matter—for example, 6-6 or 7-5 or 11-1, or in any other fashion—

whether the vote is for conviction or acquittal or on any other issue in the case.




                                                    30
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 31 of 32




             Instruction No. 35: Attitude and Conduct of Jurors in Deliberations

        The attitude and conduct of jurors at the beginning of their deliberations are matters of

considerable importance. It may not be useful for a juror, upon entering the jury room, to voice a

strong expression of an opinion on the case or to announce a determination to stand for a certain

verdict. When one does that at the outset, a sense of pride may cause that juror to hesitate to

back away from an announced position after a discussion of the case. Furthermore, many juries

find it useful to avoid an initial vote upon retiring to the jury room. Calmly reviewing and

discussing the case at the beginning of deliberations is often a more useful way to proceed.

Remember that you are not partisans or advocates in this matter, but you are judges of the facts.

                           Instruction No. 36: Excusing Alternate Jurors

        The last thing I must do before you begin your deliberations is to excuse the alternate

jurors. As I told you before, the selection of an alternate was an entirely random process; it’s

nothing personal. We selected two seats to be the alternate seats before any of you entered the

courtroom. Since the rest of you have remained healthy and attentive, I can now excuse the

jurors in seats 5 and 6.

        Before you leave, I am going to ask you to make sure Ms. Jenkins has all of your current

information. I do this because it is possible that we will need to summon you back to rejoin the

jury in case something happens to a regular juror. Since that possibility exists, I am also going to

instruct you not to discuss the case with anyone until we call you. My earlier instruction on use

of the internet still applies; do not research this case or communicate about it on the internet. If

you are not needed, we will be calling you to tell you there has been a verdict and you are now

free to discuss the case; there is, however, a chance that we will need to bring you back on to the




                                                 31
        Case 1:21-cr-00034-CRC Document 86 Filed 04/08/22 Page 32 of 32




jury. Thank you very much for your service, and please report back to the jury office to turn in

your badge on your way out.

                           Instruction No. 37: Delivering the Verdict

       When you have reached your verdict, just send me a note informing me of this fact, and

have your foreperson sign the note. Do not tell me what your verdict is. The foreperson should

fill out and sign the verdict form that will be provided. I will then call you into the courtroom

and ask your foreperson to read your verdict in open court.

       Thank you. You may now retire to begin your deliberations.




                                                 32
